Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 1 of 44 PageID# 1006




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIIA
                                  Richmond Division

E. CLAIBORNE ROBINS COMPANY, INC.,

                      Plaintiff,

v.                                                                  Civil Action No. 3:18cv827

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

                      Defendants.

                                   MEMORANDUM OPINION

       This matter comes before the Court on four motions:

       (1)     Defendant Teva Pharmaceutical Industries, Ltd.’s (“Teva Ltd.”) Motion to
               Dismiss for Lack of Jurisdiction pursuant to Federal Rule of Civil Procedure
               12(b)(2),1 (ECF No. 57);

       (2)     Defendants Teva Ltd. and Teva Pharmaceuticals USA, Inc.’s (“Teva USA”)
               Motion to Dismiss for Failure to State a Claim pursuant to Federal Rules of
               Civil Procedure 12(b)(6),2 (ECF No. 58);3

       (3)     Defendant Cephalon, Inc.’s (“Cephalon”) Motion to Dismiss for Failure to
               State a Claim pursuant to Federal Rules of Civil Procedure 12(b)(6), (ECF
               No. 60);

       (4)     Defendant Teva Pharmaceuticals International GmbH’s (“Teva Int’l”)
               Motion to Dismiss for Failure to State a Claim pursuant to Federal Rules of
               Civil Procedure 12(b)(6), (ECF No. 70).



       1
         Rule 12(b)(2) allows dismissal for “lack of personal jurisdiction.” Fed. R. Civ. P.
12(b)(2).
       2
         Rule 12(b)(6) allows dismissal for “failure to state a claim upon which relief can be
granted.” Fed. R. Civ. P. 12(b)(6).
       3
        Teva Ltd. and Teva USA submitted a single Memorandum in Support for their two
Motions to Dismiss. (See ECF No. 59.) The Court will refer to the Memorandum in Support of
these Motions to Dismiss as the “Memorandum in Support of the Teva Joint Motions to
Dismiss.”
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 2 of 44 PageID# 1007




        Plaintiff E. Claiborne Robins Company (“Robins”) responded to the Teva Ltd.’s and

Teva USA’s Motions to Dismiss in a single filing. (ECF No. 65.) Robins also responded to

Cephalon’s Motion to Dismiss, (ECF No. 67), and Teva Int’l’s Motion to Dismiss, (ECF

No. 73). Teva Ltd. and Teva USA replied, (ECF No. 68), as did Cephalon, (ECF No. 69), and

Teva Int’l, (ECF No. 74).

        The matter is ripe for disposition. The Court dispenses with oral argument because the

materials before it adequately present the facts and legal contentions, and argument would not

aid in the decisional process. The Court exercises jurisdiction pursuant to 28 U.S.C. § 1332.4

For the reasons that follow, the Court will deny each of the Motions to Dismiss.

                             I. Factual and Procedural Background

        This breach of contract action arises out of Defendants’ alleged failure to use

Commercially Reasonable Efforts in the marketing and sale of a prescription drug, Amrix, used

and marketed as a muscle relaxant. Robins5 “developed and owned a patented extended-released

form of cyclobenzaprine hydrochloride, sold under the trade name Amrix.” (Second Am.

Compl. ¶ 21, ECF No. 47.) In 2007, Robins “sold its rights in the drug” Amrix to Anesta AG6




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          “The district courts shall have original jurisdiction of all civil actions where the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between . . . citizens of different States. . . [and] citizens of a State and citizens or subjects of a
foreign state.” 28 U.S.C. §§ 1332(a)(1)–(a)(2). Robins is a citizen of Virginia, Teva USA is a
citizen of Delaware and Pennsylvania, Teva Ltd. is a citizen of Israel, Teva Int’l is a citizen of
Switzerland, Cephalon is a citizen of Delaware and Pennsylvania, and the Second Amended
Complaint seeks damages exceeding $75,000.
        5
         Robins “is a Virginia corporation with its principal place of business in Richmond,
Virginia.” (Second Am. Compl. ¶ 9, ECF No. 47.)
        6
         Anesta “was a Swiss corporation having its principal place of business [in] . . .
Switzerland.” (Second Am. Compl. ¶ 13.) At the time of the 2007 Contract, “Anesta was a
wholly owned subsidiary of Cephalon,” one of the named Defendants in this action. (Id. ¶ 42.)

                                                   2
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 3 of 44 PageID# 1008




(“Anesta”) subject to an Asset Purchase Agreement, (the “Contract”), which was guaranteed by

Cephalon. 7 (Second Am. Compl. ¶¶ 1–2, ECF No. 47.) In 2011, Teva Ltd. 8 purchased

Cephalon. (Id. ¶ 43.) After this transaction, both Cephalon and Anesta became wholly owned

subsidiaries of Teva Ltd. (Id. ¶¶ 13, 43.)

       Because this matter comes before the Court on Robins’s Second Amended Complaint,

the Court will discuss Robins’s previous complaints and the dismissal without prejudice of

Robins’s First Amended Complaint before addressing the factual allegations raised in the Second

Amended Complaint.

       A.      Initial Procedural History and Robins’s Previous Complaints

       On November 29, 2018, Robins filed its Initial Complaint alleging a single breach of

contract claim against Teva Ltd. (Compl., ECF No. 1.) On December 14, 2018, Robins filed its

seven-page First Amended Complaint, as of right, adding Teva USA as a defendant and alleging

a single breach of contract claim against Teva Ltd. and Teva USA. (Am. Compl., ECF No. 4.)

       In the First Amended Complaint, Robins alleged that Teva Ltd. “acquired all of . . .

Anesta’s rights and obligations related to Amrix” when it purchased Cephalon. (Am. Compl.

¶ 15.) In 2015, Teva Ltd.’s financial situation dramatically worsened, and the company’s stock

value fell nearly eighty percent. (Id.) As a result of Teva Ltd.’s deteriorating financial



In 2011, Teva Ltd. purchased Cephalon. (Id. ¶ 43.) After this transaction, both Cephalon and
Anesta became wholly owned subsidiaries of Teva Ltd. (Id. ¶¶ 13, 43.)
       7
         Cephalon “is a Delaware corporation having its principal place of business [in] . . .
[Pennsylvania].” (Second Am. Compl. ¶ 12.) Although Cephalon was the sole parent company
for Anesta at the time of the Contract, in 2011, it became a wholly owned subsidiary of Teva
Ltd. (Id.)
       8
         Teva Ltd., “the world’s largest seller of generic drugs,” is an Israeli corporation with its
principal place of business in Israel. (Second Am. Compl. ¶¶ 10, 43.)



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Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 4 of 44 PageID# 1009




condition, the company took “drastic” cost-cutting measures, including “cutting the marketing

budget and efforts regarding the sale of Amrix, such that at some point in 2016 or thereafter Teva

Ltd. and Teva USA failed to use Commercially Reasonable Efforts with respect to the marketing

and sale of Amrix.” (Id. ¶¶ 23–24.) Robins stated that the subsequent “precipitous drop in gross

and net sales of Amrix” provided “evidence of [Teva Ltd. and Teva USA’s] failure” to use

Commercially Reasonable Efforts in marketing Amrix, as the Contract required. (Id. ¶ 25.)

       Teva USA and Teva Ltd. filed Motions to Dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6), (ECF Nos. 6, 41), while Teva Ltd. filed an additional Motion to Dismiss

brought pursuant to Federal Rule of Procedure 12(b)(2) for lack of personal jurisdiction, (ECF

No. 40). On September 18, 2019, the Court granted Teva Ltd. and Teva USA’s Motions to

Dismiss for failure to state a claim and denied as moot Teva Ltd.’s Motion to Dismiss for lack of

jurisdiction. (Sept. 18, 2019 Mem. Op. & Order, ECF Nos. 45 & 46.)

       In dismissing the First Amended Complaint, the Court determined that Robins had not

“put forth facts sufficient to support its claim that Defendants did not use Commercially

Reasonable Efforts to market Amrix.” (Sept. 18, 2019 Mem. Op. 8, ECF No. 45.) The Court

concluded that the First Amended Complaint failed to survive Rule 12(b)(6) scrutiny and

dismissed the First Amended Complaint without prejudice.




                                                4
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 5 of 44 PageID# 1010




       B.      Factual Allegations in the Second Amended Complaint9

       Robins timely filed its twenty-page Second Amended Complaint against Teva Ltd., Teva

USA, Teva Int’l, and Cephalon, charging the Defendants breached the Contract—originally

agreed to among Robins, Anesta, and Cephalon—by failing to use Commercially Reasonable

Efforts in the marketing and sale of Amrix. (See Second Am. Compl.)

               1.     The August 2007 Contract Between Robins, Anesta and Cephalon

       Robins “developed and owned [Amrix,] a patented extended-released form of

cyclobenzaprine hydrochloride . . . [used as] a muscle relaxant.” (Second Am. Compl. ¶¶ 21–

22.) “[T]he U.S. Food and Drug Administration [approved Amrix] effective February 1, 2007.”

(Id. ¶ 27). In August 2007, Robins sold Anesta “all of Robins’[s] rights and obligations related

to Amrix.” (Id. ¶ 28.) “The [Contract] between Robins and Anesta was made in—and closed

in—Richmond, Virginia.” (Id. ¶ 17.) “It has been performed in significant part in Richmond,

Virginia.” (Id.)

       The Contract for Amrix provides that Anesta pay a “Base Purchase Price” while creating

an additional form of remittance referred to as “Net Sale Milestones.” (Id. ¶ 29.) The “Net Sales

Milestones” designate a schedule by which Anesta would make additional payments to Robins

for twelve years—until August 28, 2019—upon occurrence of certain events. (Id. ¶¶ 29–30.)

Because a large amount of Robins’s earnings from the deal depended on the future sales of




       9
          For the purpose of the Rule 12(b)(6) Motion to Dismiss, the Court will accept the well-
pleaded factual allegations in Robins’s Second Amended Complaint as true, and draw all
reasonable inferences in favor of Robins. Kensington Volunteer Fire Dep’t, Inc. v. Montgomery
Cty., Md., 684 F.3d 462, 467 (4th Cir. 2012) (“a court ‘must accept as true all of the factual
allegations contained in the complaint’ and ‘draw all reasonable inferences in favor of the
plaintiff’”) (quoting E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th
Cir. 2011)).

                                                5
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 6 of 44 PageID# 1011




Amrix, the Contract provides that “Anesta, its Affiliates,[10] and any Successor Entity[11]” will, at

all times, use “Commercially Reasonable Efforts” with respect to the marketing and sale of

Amrix. (Id. ¶¶ 33–34; see Contract § 4.02(c).) The Contract defines “Commercially Reasonable

Efforts” as:

       [W]ith respect to any Person,[12] the efforts and resources that would be used
       (including the promptness in which such efforts and resources would be applied)
       by such Person consistent with its normal business practices, which in no event
       shall be less than the level of efforts and resources standard in the pharmaceutical
       industry for a company similar in size and scope to such Person, with respect to a
       product at a similar stage in its development or product life taking into account
       efficiency, safety, commercial value, the competitiveness of alternative products of
       third parties that are in the marketplace or under development, and the Patent and
       other proprietary position of such product. Notwithstanding anything herein to the
       contrary, the ‘Commercially Reasonable Efforts’ to be used by [Anesta] under this
       Section 4.02(c) shall not be less than those efforts [Cephalon] would be obligated
       to take under this Section 4.02(c) if [Cephalon] had executed and delivered this
       Agreement as [Anesta].

(Contract § 4.02(c).) Should “Anesta, its Affiliates, [or] any Successor Entity,” to the Contract

fail to use Commercially Reasonable Efforts in the relevant timeframe, a “separate compensation

provision would be triggered” entitling Robins, as the “Seller” to “an amount equal to 50% of

(A) $255 million less (B) the aggregate amount of all Net Sales Milestone Payments made to

[Robins].” (Second Am. Compl. ¶¶ 39–40; Contract § 4.02(c).)



       10
         The Contract defines “Affiliate” as an entity “that directly, or indirectly through one or
more intermediaries, controls, is controlled by or is under common control with [Anesta].”
(Second Am. Compl. Ex. 1 “Contract” § 1.01(b), ECF No. 48.)
       11
          The Contract defines “Successor Entity” as “a successor entity to Buyer following a
Change of Control.” (Id. § 1.01(yyy).) The Contract defines “Change of Control” “as a
transaction in which Cephalon, Inc.’s voting power ceased to represent 50% or more of the
surviving entity.” (Id. § 1.01(r).)
       12
          “Person,” as used in the Contract means “any natural person, corporation, general
partnership, limited partnership, limited liability company, joint venture, proprietorship, other
business organization or entity, trust, union, association, or Governmental or Regulatory
Authority.” (Id. § 1.01(jjj).)

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Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 7 of 44 PageID# 1012




        Section § 13.11 of the Contract includes a forum selection clause13 that provides for

jurisdiction in one of several forums, stating, in relevant part:

        Each party hereby irrevocably submits to the jurisdiction of, and agrees that any
        action arising out of this Agreement shall be brought in, (i) the United States
        District Court for the Southern District of New York or, if such federal jurisdiction
        is unavailable, the state courts in the Borough of Manhattan, City of New York, (ii)
        the United States District Court for the Eastern District of Pennsylvania or, if such
        federal jurisdiction is unavailable, the state courts in the County of Chester,
        Pennsylvania, or (iii) the United States District Court for the Eastern District of
        Virginia or, if such federal jurisdiction is unavailable, the state courts in the City of
        Richmond, Virginia, and each party hereby irrevocably waives any objection which
        such party may now or hereafter have to the laying of improper venue or forum non
        conveniens in any such jurisdiction.

(Id. § 13.11.)14

        At the time of the 2007 Contract, “Anesta was a wholly owned subsidiary of Cephalon.”

(Second Am. Compl. ¶ 42.) As such, Cephalon “guaranteed Anesta’s performance of its duties

under the [Contract].” (Id. ¶ 41; see Second Am. Compl. Ex. 2 “Cephalon Guaranty,” ECF

No. 49.) In the Guaranty, a separate contract between Robins and Cephalon, Cephalon agreed to

act as a guarantor and that it would “discharge or satisfy,” or cause Anesta or another “affiliated

or related entity . . . to discharge or satisfy,” each of Anesta’s obligations. (Cephalon

Guaranty 2.)



        13
           Although the Contract refers to § 13.11 as a “venue” provision, the Court will refer to
§ 13.11 as a “forum selection clause.” A forum selection clause “is a contractual provision in
which the parties establish the place (such as the country, state, or type of court) for specified
litigation between them.” Forum Selection Clause, Black’s Law Dictionary, (11th ed. 2019).
Section 13.11 names several possible venues, including the Eastern District of Virginia, and
states that any such party “irrevocably waives any objection which such party may now or
hereafter have to the laying of improper venue or forum non conveniens in any such
jurisdiction.” (Contract § 13.11.) Section 13.11 thus functions as a non-exhaustive forum
selection clause, allowing for more than one permissible forum.
        14
         No party disputes the validity of the choice-of-law and choice-of-venue provisions in
the Contract, although disagreement exists over whether these Contract terms bind Teva Ltd. and
Teva USA.

                                                   7
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 8 of 44 PageID# 1013




               2.      Teva Ltd. Acquires Cephalon

        In 2011, Defendant Teva Ltd., “purchased Cephalon for $6.8 billion.” (Second Am.

Compl. ¶ 43.) After the transaction, both Cephalon and Anesta became wholly owned

subsidiaries of Teva Ltd. (Id.) “In 2012, Anesta merged with another wholly owned subsidiary

of Teva Ltd., Ivax International GmbH (‘Ivax’),” and “Ivax assumed Anesta’s rights and

obligations under the [Contract].” (Id. ¶¶ 44–45.) As a result, Anesta “was deleted from the

Swiss Commercial Register.” (Id. 8 n.4.) Ivax later changed its name to Teva Pharmaceuticals

International GmbH or “Teva Int’l.” (Id. ¶ 46.) Teva Int’l is a Swiss corporation with its

principal place of business in Switzerland that remains a wholly owned subsidiary of Teva Ltd.

(Id. ¶ 16.)

        Since Teva Ltd.’s purchase of Cephalon in 2011, Robins states that its “communications

about Amrix have been with Teva USA, Teva Ltd., or Teva Int’l . . . . [and] not . . . with

Cephalon or Anesta.” (Id. ¶ 47.) In 2014, John C. Jacobs, Teva’s Senior Director of Therapeutic

Marketing & Senior Head of CNS Marketing East, corresponded with Robins about Teva’s

marketing efforts and sales goals concerning Amrix from a “@tevapharm.com” email address.

(Second Am. Compl. Ex. 3 “May 19, 2014 Email” 1, ECF No. 50.) In his May 19, 2014 Email

to Robins employees, Jacobs stated that Teva had “maintained similar promotional efforts in

2014 as we did in 2013 . . . . [t]here are 324 sales representatives selling AMRIX . . . . [and] [o]ur

marketing budget has remained consistent from 2013 to 2014.” (Id.) After sending detailed

information to Robins concerning the marketing and sale of Amrix, Jacobs wrote:

        [b]y way of this message I would like to introduce Julie Pan who will serve as your
        contact person with Teva for all inquiries re: AMRIX moving forward. Julie
        handles new business and alliance management for our business unit and having




                                                  8
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 9 of 44 PageID# 1014




        one single point of contact should help us to streamline our communications
        process to better serve you.

(Id.)

        Robins alleges that “Teva has been vague about which entities within the Teva umbrella

of companies have assumed or have been assigned rights and obligations under the [Contract]”

and that Robins “does not know, and has no way of knowing, about transactions concerning

Amrix that have occurred within the Teva family of companies.” (Second Am. Compl. ¶¶ 48,

52.) Robins states, on information and belief, that “Teva Ltd. has caused Anesta, Cephalon,

and/or Teva Int’l to assign, license, or transfer rights and obligations vis-à-vis Amrix to other

entities under the Teva Ltd. family of companies, including Cephalon, Teva USA, Teva Int’l,

and Teva Ltd.” (Id. ¶ 53.) Because Cephalon, Teva USA, Teva Int’l, and Teva Ltd. are

“successors and permitted assigns” to the Contract, Robins maintains they are “bound by the

[Contract], including the earnout payment obligations set forth in § 4.02(c).” (Id. ¶ 54.)

               3.      Defendants Fail to Use Commercially Reasonable Efforts in the
                       Marketing and Sale of Amrix Between 2014 and 2019_________

        In the years preceding Teva Ltd.’s acquisition of Cephalon, “[n]et sales of Amrix were

robust.” (Second Am. Compl. ¶ 56.) Since 2016, however, “Amrix’s net sales have dropped

precipitously.” (Id. ¶ 57.)

        Robins contends that “[t]here was nothing about Amrix itself to explain this precipitous

drop that began sometime in 2016.” (Id. ¶ 59). “Amrix has been shown to be safe and effective,

and there [were] no published [studies] during the relevant period (i.e., 2014 to 2019) . . . calling

into question Amrix’s safety and efficacy.” (Id. ¶ 60.) There similarly were no changes in

applicable market conditions between 2014 and 2019: (1) Amrix remained “under patent and is

the only extended-release form of cyclobenzaprine hydrochloride on the market;” (2) there “are




                                                  9
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 10 of 44 PageID# 1015




no lower-cost substitutes that are safer and more effective than Amrix;” and, (3) there were “no

changes in the patent status of competing drugs that could account for the drastic decline in sales

that Amrix experienced.” (Id. ¶¶ 61–63.) In short, neither “Amrix’s commercial value or

competitiveness” declined between 2015 and 2019, “[n]or was there anything about Amrix or

market conditions during this period that would justify . . . cutting marketing efforts for Amrix.”

(Id. ¶¶ 61, 65.)

        During this time period, Teva Ltd. suffered a serious of financial setbacks. Teva Ltd.

“had to pay [U.S. federal regulators] $1.2 billion to settle an antitrust claim,” undertook “$33.75

billion in debt” to finance the acquisition of another drug business, and “paid the U.S.

government . . . $519 million for having violated the Foreign Corrupt Practices Act.” (Id. ¶¶ 68–

70.) “Due to these heavy drains on Teva Ltd.’s funds and other poor decisions, the market

capitalization of Teva Ltd.’s stock fell from $59.78 billion dollars as of January 5, 2016 to

$12.02 billion as of November 8, 2017, a drop of $47.7 billion or 79.89%.” (Id. ¶ 71.)

        As a result of Teva Ltd.’s deteriorating financial condition, Robins avers that Teva took

“drastic” cost-cutting measures, specifically “Teva Ltd. and Teva USA slashed billions of dollars

of costs across the board, including for marketing and sales.” (Id. ¶¶ 72–73.) Robins contends

that Teva’s compromised “financial position has caused Defendants to sacrifice Amrix” by

“shifting its marketing to other products.” (Id. ¶ 75.)

        Although previously forthcoming with information regarding the marketing and sales

efforts for Amrix, since 2015, Teva’s representatives have “refused to provide any meaningful

information about its marketing efforts and marketing budget for Amrix.” (Id. ¶ 80.) Despite

Robins’s many requests for specific information regarding Teva’s marketing efforts, Teva Ltd.

and Teva USA “provided only vague and inadequate excuses for Amrix’s drastic decline in




                                                 10
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 11 of 44 PageID# 1016




sales,” (id. ¶ 83), and continued to blame the decline in sales “on the genericization of the

market,” (id. ¶ 96). However, Robins submits that “the market . . . was highly genericized at the

time Robins developed Amrix” meaning that the so-called genericization of the market does not

explain the decline in sales. (Id. ¶ 86.)

       Robins contends that Defendants stopped using Commercially Reasonable Efforts with

respect to Amrix in three ways, specifically by cutting: (1) the Amrix sales force; (2) the co-pay

card program; and, (3) the discount coupon program. (Id. ¶ 103.) Robins submits that each of

these programs were necessary to “meet Commercially Reasonable Efforts[,]” yet Defendants

made cuts in the sales force and essential programs “substantially and unreasonably.” (Id.) For

example, in its communications with Robins, Teva stated that it was “no longer offering copay

coupons [for Amrix], a marketing component recognized in the industry as critical to successful

sales efforts for brand name prescription drugs like Amrix, but failed to explain why.” (Id. ¶ 87.)

Similarly, Teva cut its number of sales representatives from 324 in 2012—“the number of sales

representatives required to satisfy Commercially Reasonable Efforts”—and “refused to state how

many sales representatives were marketing Amrix” in 2017. (Id. ¶¶ 78–79, 84.)

       Robins concludes that “Teva’s slashing of its marketing and sales efforts for Amrix are

not justified by considerations of efficacy, safety, commercial value, the competitiveness of

alternative products of third parties that are in the marketplace or under development, or the

Patent and other proprietary position of Amrix.” (Id. ¶ 104.) Robins asserts that “a company

similar in size and scope to Cephalon, Teva USA or Teva Ltd. would not have made the same

reduction in sales force, marketing budget, and marketing efforts made by Teva.” (Id. ¶ 105.)

Thus, Robins contends that “at some point during the 12-year earnout period, beginning in 2016




                                                 11
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 12 of 44 PageID# 1017




or shortly thereafter,” the Defendants have failed to use Commercially Reasonable Efforts in

marketing Amrix, as required by the Contract. (Id. ¶ 106.)

       Robins seeks compensation as “determined by contract formula” in the amount of “$97.5

million” plus pre-judgment interest and attorney’s fees as provided for in Section 13.12(b) of the

Contract.15 (Id. ¶¶ 107–10.)

        C.       Procedural History

       Teva Ltd. and Teva USA first jointly filed their Motions to Dismiss pursuant to Federal

Rules of Civil Procedure 12(b)(2) and 12(b)(6). (ECF Nos. 57, 58.) Soon after, Cephalon filed

its Motion to Dismiss pursuant to 12(b)(6), (ECF No. 60), adopting the arguments regarding

breach of the Commercially Reasonable Efforts Contract provision set forth in the Memorandum

in Support of the Teva Joint Motions to Dismiss, (ECF No. 59). On December 30, 2019, Teva

Int’l filed its Motion to Dismiss pursuant to 12(b)(6), (ECF No. 70), also adopting the same

arguments regarding the breach of the Commercially Reasonable Efforts Contract provision set

forth in the Memorandum in Support of the Teva Joint Motions to Dismiss, (ECF No. 59).

       For the reasons stated below, the Court will deny the Motions to Dismiss. In reaching

that conclusion, the Court determines that Robins has pleaded facts in the Second Amended

Complaint supporting a reasonable inference that Teva Ltd. and Teva USA can be held liable

under the Contract, and that the Defendants failed to use Commercially Reasonable Efforts in the




       15
            Section 13.12(b) of the Contract states that

       [i]n the event a Party brings an action to enforce any terms and provisions of this
       Agreement in a court of law or equity, the non-prevailing Party in such action shall
       pay all of the out-of-pocket costs incurred by the prevailing Party, including
       reasonable attorney’s fees.

       (Contract § 13.12(b).)

                                                  12
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 13 of 44 PageID# 1018




marketing and sale of Amrix. The Court next addresses the issue of personal jurisdiction,

concluding that Robins has made a prima facie case of personal jurisdiction over Teva Ltd.

                                       II. Standard of Review

        A.      Federal Rule of Civil Procedure 12(b)(6)

        “A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint;

importantly, it does not resolve contests surrounding the facts, the merits of a claim, or the

applicability of defenses.” Republican Party of N.C. v. Martin, 980 F.2d 943, 952

(4th Cir. 1992) (citing 5A Charles A. Wright & Arthur R. Miller, Federal Practice and

Procedure § 1356 (1990)). To survive Rule 12(b)(6) scrutiny, a complaint must contain

sufficient factual information to “state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also Fed. R. Civ. P. 8(a)(2) (“A pleading that

states a claim for relief must contain . . . a short and plain statement of the claim showing that the

pleader is entitled to relief.”). Mere labels and conclusions declaring that the plaintiff is entitled

to relief are not enough. Twombly, 550 U.S. at 555. Thus, “naked assertions of wrongdoing

necessitate some factual enhancement within the complaint to cross the line between possibility

and plausibility of entitlement to relief.” Francis v. Giacomelli, 588 F.3d 186, 193

(4th Cir. 2009) (citations omitted).

        A complaint achieves facial plausibility when the facts contained therein support a

reasonable inference that the defendant is liable for the misconduct alleged. Twombly, 550 U.S.

at 556; see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This analysis is context specific and

requires “the reviewing court to draw on its judicial experience and common sense.” Francis,

588 F.3d at 193. The Court must assume all well pleaded factual allegations to be true and

determine whether, viewed in the light most favorable to the plaintiff, they “plausibly give rise to




                                                   13
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 14 of 44 PageID# 1019




an entitlement to relief.” Iqbal, 556 U.S. at 678–79; see also Kensington, 684 F.3d at 467

(finding that the court in deciding a Rule 12(b)(6) motion to dismiss “‘must accept as true all of

the factual allegations contained in the complaint’ and ‘draw all reasonable inferences in favor of

the plaintiff’” (quoting Kolon Indus., Inc., 637 F.3d at 440)). This principle applies only to

factual allegations, however, and “a court considering a motion to dismiss can choose to begin

by identifying pleadings that, because they are no more than conclusions, are not entitled to the

assumption of truth.” Iqbal, 556 U.S. at 679.

       A.      Federal Rule of Civil Procedure 12(b)(2)

       “When personal jurisdiction is properly challenged under Rule 12(b)(2), the jurisdictional

question is to be resolved by the judge, with the burden on the plaintiff ultimately to prove

grounds for jurisdiction by a preponderance of the evidence.” Carefirst of Md., Inc. v. Carefirst

Pregnancy Ctrs., Inc., 334 F.3d 390, 396 (4th Cir. 2003). When, as here, a district court

considers a challenge to personal jurisdiction without conducting an evidentiary hearing, the

plaintiff need only make a prima facie showing of personal jurisdiction, rather than show

jurisdiction by a preponderance of the evidence. Id.; see also Combs v. Bakker, 886 F.2d 673,

676 (4th Cir. 1989). “This ‘prima facie case’ analysis resembles the plausibility inquiry

governing motions to dismiss for failure to state a claim under Rule 12(b)(6).” Hawkins v. i-TV

Digitalis Tavkozlesi zrt., 935 F.3d 211, 226 (4th Cir. 2019). “That is, the district court must

determine whether the facts proffered by the party asserting jurisdiction—assuming they are

true—make out a case of personal jurisdiction over the party challenging jurisdiction.” Id. If a

plaintiff makes the requisite showing, the defendant then bears the burden of presenting a

‘compelling case,’ that, for other reasons, the exercise of jurisdiction would be so unfair as to




                                                 14
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 15 of 44 PageID# 1020




violate due process.” Reynolds Foil, Inc. v. Pai, No. 3:09cv657, 2010 WL 1225620, at *1 (E.D.

Va. Mar. 25, 2010) (quoting Burger King v. Rudzewicz, 471 U.S. 462, 477–78 (1985)).

       The Court “has considerable procedural leeway in choosing a methodology for deciding

the [Rule 12(b)(2)] motion.” 5B ALAN WRIGHT & ARTHUR MILLER, FEDERAL PRACTICE AND

PROCEDURE § 1351, at 305 (3d ed. 2004). A number of courts have identified three possible

approaches: ruling on the written record, permitting discovery, or holding an evidentiary

hearing. See, e.g., Williams v. FirstPlus Home Loan Tr. 1996-2, 209 F.R.D. 404, 409 (W.D.

Tenn. 2002) (stating that a court “may decide the motion upon the affidavits alone; it may permit

discovery in aid of deciding the motion; or it may conduct an evidentiary hearing to resolve any

apparent factual questions.”). A hearing may be appropriate “in particularly complex cases.” 5B

ALAN WRIGHT & ARTHUR MILLER, FEDERAL PRACTICE AND PROCEDURE § 1351, at 305, 308 (3d

ed. 2004). In straightforward cases, such as the one before the Court, “[t]he Court may resolve

the issue based on the affidavits and the supporting documents” without a hearing. Initiatives

Inc. v. Korea Trading Corp., 991 F. Supp. 476, 477–78 (E.D. Va. 1997).

       When ruling on a Rule 12(b)(2) Motion to Dismiss, the Court “may also consider

affidavits submitted by both parties, although it must resolve all factual disputes and draw all

reasonable inferences in favor of the party asserting jurisdiction.” Hawkins, 935 F.3d at 226; see

also WRIGHT & ARTHUR MILLER, § 1351, at 305 (“The court may receive and weigh the contents

of affidavits and any other relevant matter submitted by the parties to assist it in determining the

jurisdictional facts.”). “For purposes of the motion to dismiss, the reviewing court may presume

that any uncontradicted evidence submitted by either party is true.” Reynolds Foil, 2010 WL

1225620, at *1. “In considering whether the plaintiff has met this burden, the district court ‘must

construe all relevant pleading allegations in the light most favorable to the plaintiff, assume




                                                 15
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 16 of 44 PageID# 1021




credibility, and draw the most favorable inferences for the existence of jurisdiction.’” Universal

Leather, LLC v. Koro AR, S.A., 773 F.3d 553, 558 (4th Cir. 2014) (quoting Bakker, 886 F.2d at

676). Still, a plaintiff cannot rely on “bare pleadings alone” after a defendant properly

challenges personal jurisdiction. Machulsky, 210 F. Supp. 2d at 537 (quotation omitted).

Instead, “the plaintiff must sustain its burden of proof in establishing jurisdictional facts through

sworn affidavits and competent evidence . . . . [A] plaintiff must respond with actual proof[], not

mere allegations.” Id. (quotation omitted); see also FirstPlus, 209 F.R.D. at 409–10 (concluding

that a court need not “ignore undisputed factual representations of the defendant which are

consistent with the representations of the plaintiffs.” (quoting Kerry Steel v. Paragon Indus.,

Inc., 106 F.3d 147, 153 (6th Cir. 1997))).

                             III. Analysis: Failure to State a Claim

       The Court will deny Defendants’ Motions to Dismiss brought pursuant to Rule 12(b)(6).

(ECF Nos. 58, 60, 70.) Viewing all factual allegations in the light most favorable to Robins,

Plaintiff has stated a claim that Teva Ltd. and Teva USA are bound by the Contract. The Court

further determines that Robins has pled facts sufficient to survive a motion to dismiss that

Defendants breached the Contract by failing to use Commercially Reasonable Efforts in the

marketing and sale of Amrix.

       A.        Legal Standard: Breach of Contract Under New York Law

        “Under New York law, a cause of action for breach of contract requires ‘(1) the

existence of an agreement,16 (2) adequate performance of the contract by the plaintiff,17 (3)




       16
          No party disputes the existence of the Contract or the Commercially Reasonable
Efforts provision.
       17
            Defendants do not claim that Robins failed to adequately perform under the Contract.

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Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 17 of 44 PageID# 1022




breach of contract by the defendant, and (4) damages.” Benihana of Tokyo, LLC v. Angelo,

Gordon & Co. L.P., 259 F. Supp. 3d 16, 33 (S.D.N.Y. 2017) (quoting Eternity Glob. Master

Fund Ltd. v. Morgan Guar. Trust Co. of New York, 375 F.3d 168, 177 (2d Cir. 2004)). “The

plaintiff must allege the specific provisions of the contract upon which liability is predicated . . .

[and] [i]t is a fundamental principle of contract law that agreements are interpreted in accordance

with the parties’ intent[.]” Id. (internal citations omitted). “Stating in a conclusory manner that

an agreement was breached does not sustain a claim of breach of contract.” N. Shipping Funds I,

L.L.C. v. Icon Capital Corp., No. 12cv3584, 2013 WL 1500333, at *9 (S.D.N.Y. Apr. 12, 2013)

(quoting Berman v. Sugo LLC, 580 F. Supp. 2d 262, 267 (S.D.N.Y. 2010)); see also Hadami,

S.A. v. Xerox Corp., 272 F. Supp. 3d 587, 597 (S.D.N.Y. 2017) (“Conclusory allegations that a

defendant breached an agreement are insufficient to support a breach of contract claim.” (internal

citations omitted)).

       B.      Robins States a Plausible Claim that Teva Ltd. and Teva USA Are Bound By
               the Contract                                     ________________________

       Teva Ltd. and Teva USA18 argue that Robins does not allege sufficient facts to plausibly

infer the first element of breach of contract—that Teva Ltd. and Teva USA are bound by the

Contract. (Mem. Supp. Teva Jt. Mots. Dismiss 17, ECF No. 59.) Reading Robins’s factual

allegations in the most favorable light, the Court determines otherwise for purposes of this

Motion to Dismiss.

       Pursuant to New York law, the general successor-liability rule establishes that “a party

who is not a signatory to a contract cannot be held liable for breaches of that contract.” In re




       18
          Cephalon and Teva Int’l do not contest that they are bound by the Contract nor that
they are subject to personal jurisdiction in the Eastern District of Virginia. (See Cephalon Mot.
Dismiss; Teva Int’l Mot. Dismiss).

                                                  17
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 18 of 44 PageID# 1023




LIBOR-Based Fin. Instruments Antitrust Litig., 27 F. Supp. 3d 447, 478 (S.D.N.Y. 2014)

(internal citation omitted). But several exceptions to that general rule exist. Namely, a successor

entity may be bound by a contract’s provisions when: “(1) there is an express or implied

agreement to assume the other company’s debts and obligations; (2) the transaction was

fraudulent; (3) there was a de facto merger or consolidation of the companies; or (4) the

purchasing company was a mere continuation of the selling company.” Eclaire Advisor Ltd. v.

Daewoo Engineering & Construction Co., Ltd., 375 F. Supp. 2d 257, 267 (S.D.N.Y. 2005)

(internal citations omitted); see also Arcadia Biosciences, Inc. v. Vilmorin & Cie, 356 F. Supp.

3d 379, 390 n.4 (S.D.N.Y. 2019) (accord). Under New York law, successor liability in a contract

is “highly fact-specific” and typically cannot be determined as a matter of law. See Aguas

Lenders Recovery Grp. v. Suez, S.A., 585 F.3d 696, 703 (2d Cir. 2009).

       Here, Robins has adequately plead the first exception to the general rule against successor

liability: that “an express or implied agreement to assume the other company’s debts and

obligations” existed here. Eclaire Advisor Ltd., 375 F. Supp. 2d at 267. Robins supports its

position that both Teva Ltd. and Teva USA undertook Cephalon and Anesta’s “debts and

obligations” under the Contract under three plausible rationale. Id. First, Robins alleges an

express agreement on the part of Teva Ltd. and Teva USA to undertake Anesta and Cephalon’s

contractual obligations. Second, Teva employees conducted themselves as if they were bound

by the Contract, including implicitly referring to Teva as a “Party” to the Contract. Finally, Teva

Ltd.’s acquisition of Cephalon and Teva’s corporate structure suggest the existence of an express

or implied agreement to undertake Anesta and Cephalon’s debts and obligations relating to

Amrix because they show that the debts and obligations to Amrix entered the Teva corporate

family following 2011.




                                                18
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 19 of 44 PageID# 1024




               1.      Robins Alleges an Express Agreement on the Part of Teva Ltd. and
                       Teva USA to Undertake Anesta and Cephalon’s Contract Obligations

       First, Robins alleges an express agreement on the part of Teva Ltd. and Teva USA to

undertake Anesta and Cephalon’s obligations pursuant to the Contract. The Second Amended

Complaint states that “[o]n information and belief, Teva Ltd. has caused Anesta, Cephalon,

and/or Teva Int’l to assign, license, or transfer rights and obligations vis-à-vis Amrix to other

entities under the Teva Ltd. family of companies, including Cephalon, Teva USA, Teva Int’l,

and Teva Ltd.” (Second Am. Compl. ¶ 53.) While Teva Ltd. and Teva USA protest that this

allegation amounts to no more than a legal conclusion, Robins supports this allegation with other

facts in the Second Amended Complaint. This finding is explained in the discussion about

Personal Jurisdiction that follows. The Second Amended Complaint thus pleads the first

exception to successor and assignment liability: an express agreement for Teva Ltd. and Teva

USA to assume Anesta and Cephalon’s obligations under the Contract. Eclaire Advisor Ltd.,

375 F. Supp. 2d at 267.

               2.      Teva Employees Conducted Business with Robins As if an Express or
                       Implied Agreement to Undertake Anesta and Cephalon’s Contractual
                       Obligations Existed___________________________________________

       Second, Robins alleges that Teva’s employees conducted business regarding Amrix as if

Teva had assumed Anesta and Cephalon’s “debts and obligations” under the Contract.19 Eclaire

Advisor Ltd., 375 F. Supp. 2d at 267. To show successor liability under New York law through

the existence of an express or implied agreement to assume the other company’s debts and

obligations, Robins alleges that since 2011, the year after Teva Ltd. acquired Cephalon, its



       19
         It is not apparent from the Second Amended Complaint whether Robins communicated
with Teva USA employees or Teva Ltd. employees. Robins, in its Response to the Teva Joint
Motions to Dismiss, states that Francine Del Ricci is “a Teva USA employee.” (Resp. Teva Jt.
Mots. Dismiss 10, ECF No. 65.)

                                                 19
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 20 of 44 PageID# 1025




“communications about Amrix have been with Teva USA, Teva Ltd., or Teva Int’l . . . . [t]hey

have not been with Cephalon or Anesta.” (Second Am. Compl. ¶ 47.) The communications

provided to the Court, both by Robins and Teva, confirm this assertion and give rise to the

inference that Teva assumed Anesta and Cephalon’s debts and obligations under the Contract.

        Robins provides its communications with Teva employees concerning Teva’s efforts in

maintaining Commercially Reasonable Efforts under the Contract. The record shows that in

2014, John C. Jacobs (Teva’s Senior Director of Therapeutic Marketing & Senior Head of CNS

Marketing East) corresponded with Robins about Teva’s marketing efforts and sales goals

concerning Amrix. (May 19, 2014 Email 1.) In his May 19, 2014 Email to Robins, Jacobs

stated that Teva had “maintained similar promotional efforts in 2014 as we did in 2013 . . . .

[t]here are 324 sales representatives selling AMRIX . . . . [and] [o]ur marketing budget has

remained consistent from 2013 to 2014.” (Id.) After sending detailed information to Robins

concerning the financial viability of Amrix, Jacobs continued:

        [b]y way of this message I would like to introduce Julie Pan who will serve as your
        contact person with Teva for all inquiries re: AMRIX moving forward. Julie
        handles new business and alliance management for our business unit and having
        one single point of contact should help us to streamline our communications
        process to better serve you.

(Id.)

        Robins inclusion of the May 19, 2014 Email from Jacobs (Teva’s Senior Director of

Therapeutic Marketing & Senior Head of CNS Marketing East) plainly demonstrates that Teva

employees such as Jacobs viewed the company as responsible for marketing and selling Amrix,

and that it was in a “business and alliance management” relationship with Robins. (Id.) By

providing these communications with Teva, Robins has stated more than a plausible claim that

Teva undertook “an express or implied agreement to assume” Cephalon and Anesta’s “debts and




                                                20
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 21 of 44 PageID# 1026




obligations” regarding the marketing and sale of Amrix. Eclaire Advisor Ltd., 375 F. Supp. 2d at

267. Teva cannot claim that it did not enter into an “express or implied agreement to assume”

Anesta and Cephalon’s debts and obligations regarding Amrix when it maintained 324 sales

representatives selling Amrix in 2014, provided the marketing budget for the drug, and

corresponded with the other party to the Contract about those efforts. Id.; see Aguas, 585 F.3d at

703 (finding relevant for question of successor liability that one company “assumed operating

control of the facilities and infrastructure improvements, as well as business channels, to deliver,

without interruption, the same services.”)

       Teva also provides emails from its employees in support of its Motion to Dismiss that

confirm the existence of an express or implied agreement on the part of Teva to undertake

Anesta and Cephalon’s debts and obligations under the Contract. Between December 2017 and

January 2018, Francine Del Ricci, a Senior Vice President at Teva, engaged in email

correspondence with various Robins’s employees about Teva’s marketing and sales efforts

regarding Amrix and Teva’s stated reasons for Amrix’s declined sales. (Mem. Supp. Teva. Jt.

Mots. Dismiss Exs. 2–3, ECF Nos. 59-3–4)

       On January 23, 2018, Del Ricci sent a letter responding to a January 9, 2018 inquiry from

Robins that had questioned whether Teva had fulfilled its obligations under the Contract (the

“January 23, 2018 Letter”). (Mem. Supp. Teva. Jt. Mots. Dismiss Ex. 3 “Jan. 23, 2018 Letter,”

ECF No. 59-4.) In that January 23, 2018 Letter, Del Ricci states that Robins had “question[ed]

Teva’s performance under Section 4.2 of its August 28, 2007 Asset Purchase Agreement . . . for

AMRIX.” (Id. 1.) Del Ricci continued that Robins’s “letter includes a number of inaccuracies,

and your suggestion that Teva may have breached its obligations, under Section 4.2, to market

AMRIX using Commercially Reasonable Efforts is patently false.” (Id. (emphasis added).)




                                                 21
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 22 of 44 PageID# 1027




While Del Ricci’s January 23, 2018 Letter laid out substantial grounds for disputing Robins’s

claims that Teva had not used Commercially Reasonable Efforts, it did not state that Teva Ltd.,

Teva USA, or any Teva entity, was not bound by the terms of the Contract. (Id.)

       To the contrary, Del Ricci referred to Teva’s “obligations” under § 4.02 of the Contract

without reservation. (Id.) Courts applying New York law on successor liability have looked to

“factors such as whether the buyer’s conduct or representations indicate such an intent [to be

bound by a contract], including admissions of liability by officers or other [spokespersons] of the

buyer.” Vasquez v. Ranieri Cheese Corp., No. 07cv464, 2010 WL 1223606, at *11 (E.D.N.Y.

Mar. 26, 2010). Teva cannot now contend that it did not assume debts and obligations pursuant

to the Contract, when it includes correspondence from senior employees referring to the

company’s “obligations” under that same Contract. Eclaire Advisor Ltd., 375 F. Supp. 2d at 267.

       The January 23, 2018 Letter includes a second comment that suggests Teva’s belief that

it viewed itself as bound by the Contract. Del Ricci continues by saying that if Robins were to

bring suit against Teva and lose, Robins would “under Section 13.12 of the Agreement . . . be

responsible to pay all of Teva’s out-of-pocket costs.” (Jan. 23, 2018 Letter 2.) Section 13.12(b)

of the Contract states that

       [i]n the event a Party brings an action to enforce any terms and provisions of this
       Agreement in a court of law or equity, the non-prevailing Party in such action shall
       pay all of the out-of-pocket costs incurred by the prevailing Party, including
       reasonable attorney’s fees.

(Contract § 13.12(b).) By informing Robins of Teva’s intent to exercise rights that exclusively

belong to a “Party” under the Contract, Teva reiterated that it viewed itself as such: a Party

bound by the Contract. (Id.) The January 23, 2018 Letter demonstrates Teva’s corporate

awareness of an “express or implied agreement” to assume Cephalon and Anesta’s “debts and

obligations” and become a Party to the Contract. Eclaire Advisor Ltd., 375 F. Supp. 2d at 267.



                                                22
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 23 of 44 PageID# 1028




       Read together, the statements of Jacobs and Del Ricci, both Teva employees, plausibly

show that Teva viewed itself as a party to the Contract. Their actions strongly support the

existence of “an express or implied agreement to assume” Cephalon’s and Anesta’s “debts and

obligations” under the Contract. Eclaire Advisor Ltd., 375 F. Supp. 2d at 267.

               3.      Teva Ltd.’s Acquisition of Cephalon and Teva’s Corporate Structure
                       Further Support the Existence of an Agreement to Assume
                       Cephalon’s Duties and Obligations Under the Contract____________

       Third, as pled, Teva Ltd.’s acquisition of Cephalon, when considered alongside Teva’s

conduct, further supports the existence of “an express or implied agreement” on the part of both

Teva Ltd. and Teva USA to assume Cephalon’s rights and duties regarding the marketing of

Amrix. Eclaire Advisor Ltd., 375 F. Supp. 2d at 267.

       Although Robins’s allegation that Teva Ltd. acquired Cephalon, standing alone, would be

insufficient to state a claim for successor liability under New York law, Vasquez, 2010 WL

1223606, at *10 (“a corporation that purchases the assets of another corporation is not liable for

the selling corporation’s liabilities” subject to four common law exceptions), Teva Ltd.’s

acquisition of Cephalon, alongside the Contract’s language designating Teva Ltd. as a successor

entity and the corporate structure of Teva, plausibly allow the inference that Teva Ltd. and Teva

USA were assigned the rights to Amrix or became Successor Entities as defined in the Contract.

       To show successor liability under New York law through the existence of an express or

implied agreement to assume the other company’s debts and obligations, Robins submits facts

that in 2011, Defendant Teva Ltd., “purchased Cephalon for $6.8 billion.” (Second Am. Compl.

¶ 43.) After the transaction, Robins alleges that Cephalon became a “wholly owned subsidiary”

of Teva Ltd, that Anesta merged with a wholly owned subsidiary of Teva Ltd, and that

eventually, Anesta was deleted from the Swiss Commercial Register. (Id. ¶¶ 12, 44–46.)




                                                23
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 24 of 44 PageID# 1029




       The Contract defines of a “Successor Entity” as a “Buyer following a Change of

Control.” (Contract § 1.01 (yyy)). In turn, the Contract defines a Change of Control as “a

transaction which results in . . . the voting securities of [Cephalon] immediately prior to such

transaction ceasing to represent at least fifty percent (50%) of the combined voting power of

[Cephalon] or the Successor Entity to [Cephalon] immediately after such transaction.” (Id.

§ 1.01(r).) Teva Ltd.’s takeover of Cephalon as a “wholly-owned subsidiary” plausibly

establishes a “Change of Control” because the “the voting securities of [Cephalon] immediately

prior to such transaction” ceased “to represent at least fifty percent (50%) of the combined voting

power of [Cephalon] or the Successor Entity to [Cephalon] immediately after such transaction.”

(Contract § 1.01(r).) Under the Contract’s terms, Teva Ltd., and its wholly owned subsidiary

Teva USA, became a “Successor Entity” to Cephalon. (Id. § 1.01(yyy)).

       These connections, outlined in the Second Amended Complaint, plausibly show that the

rights, debts, and obligations associated with Amrix entered the “Teva family of companies”

following 2011. (Second Am. Compl. ¶ 53.) If between 2011 and 2019, Teva Ltd. and Teva

USA were responsible for the sale and marketing of Amrix, then it reasonably follows that those

entities became parties to the Contract: either by the acquisition of Cephalon as a “Successor

Entit[ies]” or as assignees.20 These facts, combined with various Teva employees’ actions



       20
          Teva Ltd. and Teva USA also argue that no assignment of the Contract was necessary
as “Anesta would retain responsibility to Robins under the Agreement, even if other companies
were to sell the drug.” (Reply Teva Ltd. & Teva USA Mot. Dismiss 10.) Under this
interpretation, Anesta could give Teva the rights to sell Amrix, while maintaining its own
responsibilities to use Commercially Reasonable Efforts. This argument materially deviates
from the factual allegations in the Second Amended Complaint.
        Since 2011, Robins’s communications concerning Amrix have been with “Teva USA
Teva Ltd., or Teva Int’l . . . . [t]hey have not been with Cephalon or Anesta.” (Second Am.
Compl. ¶ 47.) Teva employees, not Anesta employees, informed Robins of Teva’s marketing
and sales efforts—obligations tied to the Commercially Reasonable Efforts clause in the
Contract. Furthermore, Del Ricci sent the January 23, 2018 Letter to Robins appearing to state

                                                 24
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 25 of 44 PageID# 1030




relating to the marketing and sale of Amrix, plausibly show that Teva Ltd. and Teva USA

entered into an “express or implied agreement” to undertake Cephalon’s “debts and obligations”

relating to Amrix. Eclaire Advisor Ltd., 375 F. Supp. 2d at 267. The presence of Amrix in

Teva’s portfolio thus support a reasonable inference that Teva Ltd. and Teva USA assumed

rights and obligations under the Contract and are liable for the misconduct alleged. Twombly,

550 U.S. at 556.

       Though the issue of successor liability in a contract is a “highly fact-specific” inquiry,

Aguas, 585 F.3d at 703, the Court concludes that Robins has stated a claim that Teva Ltd. and

Teva USA are bound by the Contract either as assignees or successor entities. At this procedural

posture, the allegations support the plausible inference that Teva Ltd. and Teva USA are bound

by the Contract, including the Commercially Reasonable Efforts provision in § 4.02(c). The

Court will therefore deny the Teva Ltd. and Teva USA Motion to Dismiss on this ground.

       C.      Robins States a Plausible Claim that Defendants Breached the Contract by
               Failing to Use Commercially Reasonable Efforts in The Marketing and Sale
               of Amrix                           ___________________________________

       The Court also finds that Robins’s Second Amended Complaint states a plausible claim

that Defendants breached the Contract and failed to use Commercially Reasonable Efforts in the

marketing and sale of Amrix. The Court first evaluates the language of the Contract. Based on

the language of the Contract, the Court determines that, considering the factors articulated in the

Contract, Robins adequately states facts that Amrix’s value did not decline between 2015 and

2019. The Court also concludes that, considering Amrix’s unchanged value, Robins’s




that Teva was bound by the Contract. (See Jan. 23, 2018 Letter.) So while possible that Anesta
could have retained its obligations under the Contract while assigning its rights to Teva, the facts
as alleged in Robins’s Second Amended Complaint and the supporting documentation provided
by Teva suggest the opposite inference.

                                                 25
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 26 of 44 PageID# 1031




allegations concerning Defendants’s efforts regarding the marketing and sale of Amrix

adequately state a claim for breach of the Commercially Reasonable Efforts provision of the

Contract under New York law.

                 1.      Legal Standard: Commercially Reasonable Efforts

          In New York, a contract should be “interpreted to give effect to the intent of the parties as

expressed in the clear language of the contract.” Morgan Stanley Group Inc. v. New England

Ins. Co., 225 F.3d 270, 275 (2d Cir. 2000). A plaintiff must plead plausible, comparative facts in

support of a breach of contract claim where the plaintiff alleges a failure to use Commercially

Reasonable Efforts. “When interpreting the meaning of a ‘reasonable efforts’ clause, ‘New York

courts use the term ‘reasonable efforts’ interchangeably with ‘best efforts’ . . . [and] a ‘best

efforts’ clause imposes an obligation to act with good faith in light of one’s own capabilities.’”

Soroof Trading Dev. Co. v. GE Fuel Cell Sys. LLC, 842 F. Supp. 2d 502, 511 (S.D.N.Y. 2012)

(quoting Monex Fin. Servs. Ltd. v. Nova Info. Sys., Inc., 657 F. Supp. 2d 447, 454 (S.D.N.Y.

2009)).

          Relevant here, the New York Court of Appeals has found that a plaintiff did not state a

plausible claim on a breach of a commercially reasonable efforts clause when it “fail[ed] to

allege any commercially reasonable step that [defendant] should have taken.” JFK Holding Co.

LLC v. City of New York, 999 N.E.2d 1161, 1163 (N.Y. 2013); see also Robert Wood Johnson

Univ. Hosp. v. SMX Capital, Inc., No. 12cv7049, 2013 WL 4510005, at *4 (D.N.J. Aug. 26,

2013) (dismissing a complaint in part because “Plaintiff does not allege what commercially

reasonable efforts or steps, if any, Defendant made or failed to make.”)




                                                   26
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 27 of 44 PageID# 1032




               2.      The Commercially Reasonable Efforts Provision in the Contract

       The Court begins, as it must, with the “language of the contract.” Morgan Stanley

Group, 225 F.3d at 275. Because a significant amount of Robins’s earnings from its sale of the

rights to Amrix depended on the future sales of Amrix, the Contract provides that “Anesta, its

Affiliates, and any Successor Entity” will, at all times, use “Commercially Reasonable Efforts”

with respect to the marketing and sale of Amrix. (Second Am. Compl. ¶¶ 33–34; see Contract

§ 4.02(c).) The Contract defines “Commercially Reasonable Efforts” as:

       [W]ith respect to any Person, the efforts and resources that would be used
       (including the promptness in which such efforts and resources would be applied)
       by such Person consistent with its normal business practices, which in no event
       shall be less than the level of efforts and resources standard in the pharmaceutical
       industry for a company similar in size and scope to such Person, with respect to a
       product at a similar stage in its development or product life taking into account
       efficiency, safety, commercial value, the competitiveness of alternative products of
       third parties that are in the marketplace or under development, and the Patent and
       other proprietary position of such product.

(Contract § 4.02(c).) The Contract thus defines Commercially Reasonable Efforts as, at a

minimum, the “level of efforts and resources standard in the pharmaceutical industry” that a

“company similar in size and scope” to Defendants would employ in marketing a product at a

similar stage in development to Amrix. (Id.)

       To determine whether Robins has adequately alleged a breach of the Commercially

Reasonable Efforts provision, the Court must assess: (1) Robins’s allegations regarding the

profitability of Amrix during the time in question using the five factors established by the

Contract; and, (2) Robins’s allegations regarding Defendants’ efforts in marketing and selling

Amrix and how those efforts compare to those of a similarly sized pharmaceutical company.

Considering these two factors, and reading the Second Amended Complaint in the light most




                                                27
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 28 of 44 PageID# 1033




favorable to Robins, Robins plausibly alleges that Defendants’ efforts in marketing and selling

Amrix fell below those of a company similar in size and scope in the pharmaceutical industry.

               3.      Amrix Did Not Decline in Commercial Value, Safety, Effectiveness,
                       Competitiveness, or Proprietary Position Between 2015 and 2019__

       First, Robins plausibly alleges that nothing about Amrix or the market could explain the

drop in sales. Robins advances detailed factual allegations that Amrix did not decline in

“efficiency, safety, commercial value . . . competitiveness . . . [or] proprietary position.”

(Contract § 4.02(c).) In the Second Amended Complaint, Robins states that since 2016 “Amrix’s

net sales have dropped precipitously,” (Second Am. Compl. ¶ 57), yet “[t]here was nothing about

Amrix itself to explain this precipitous drop,” (id. ¶ 59). “Amrix has been shown to be safe and

effective, and there . . . were no studies during the relevant period calling into question Amrix’s

safety and efficacy.” (Id. ¶ 60.)

       There similarly were no changes in applicable market conditions between 2014 and 2019:

(1) Amrix remained “under patent and is the only extended-release form of cyclobenzaprine

hydrochloride on the market;” (2) there “are no lower-cost substitutes that are safer and more

effective than Amrix;” and, (3) there were “no changes in the patent status of competing drugs

that could account for the drastic decline in sales that Amrix experienced.” (Id. ¶¶ 61–63.)

Taking Robins’s factual allegations as true, and viewing them in the most favorable light,

Amrix’s “commercial value or competitiveness,” at the very least, remained steady between

2015 and 2019 considering the factors articulated in the Contract.21 (Id. ¶ 61.)



       21
           As noted above, the January 23, 2018 Letter from Teva Senior Vice President Francine
Del Ricci to Robins includes certain claims about Teva’s perspective of why Amrix had declined
in sales. In the Memorandum in Support of the Teva Joint Motions to Dismiss, Teva Ltd. and
Teva USA encourage the Court to consider Del Ricci’s factual assertions and fault Robins for
“not even address[ing] (much less refut[ing]) the contrary facts that Ms. Del Ricci laid out in the
letters referenced above.” (Mem. Supp. Teva Jt. Mots. Dismiss 27.)

                                                  28
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 29 of 44 PageID# 1034




               4.      Considering Amrix’s Stable Value, Defendants’ Drastic Cuts to the
                       Marketing and Sales Budget for Amrix Fell Below the Commercially
                       Reasonable Efforts Required by the Contract____________________

       Second, because Amrix did not decline in market value under the factors articulated in

the Contract, Robins’s assertions that Teva made drastic cuts to the marketing and sales budget

for Amrix suffices to state a claim for breach of the Commercial Reasonable Efforts provision.

       In its September 18, 2019 Memorandum Opinion, the Court identified two flaws in

Robins’s Amended Complaint. First, the Court found that while Robins alleged facts that were

“consistent” with liability, it stopped short of including “factual allegations pertaining to ‘what

commercially reasonable efforts or steps, if any, Defendant made or failed to make.’” (Sept. 18,

2019 Mem. Op. 10 (quoting Robert Wood Johnson Univ. Hosp., 2013 WL 4510005, at *4)).

Second, looking to the five factors articulated in the Contract for assessing Amrix’s viability, the

Court found that while Robins broadly alleged that Teva cut its marketing and sales budget, it

made no comparative “allegation that a company similar in size and scope would not have made




         Because the Court cannot weigh competing factual claims about Amrix at this stage of
the litigation, the Court will not consider Del Ricci’s claims for the truth of their representations
about Amrix. Although Robins attached portions of its emails with Del Ricci to its Second
Amended Complaint, it would be inappropriate to consider her emails and letters for the veracity
of her claims concerning the viability of Amrix. “Plaintiffs attach exhibits to their complaints for
all sorts of reasons.” Goines v. Valley Comm. Servs. Bd., 822 F.3d 159, 167 (4th Cir. 2016)
(internal citations omitted). “Accordingly, before treating the contents of an attached or
incorporated document as true, the district court should consider the nature of the document and
why the plaintiff attached it.” Id.
         Here, Robins attached these documents to show that Teva was “stonewalling” Robins,
(Compl. ¶¶ 98, 101), by failing to provide Robins with the marketing and sales information
regarding Amrix. Robins did not adopt the factual statements of Del Ricci as true; statements
which appeared to have been prepared with an eye towards litigation. (See Jan. 23, 2018 Letter 1
(“Your letter includes a number of inaccuracies, and your suggestion that Teva may have
breached its obligations, under Section 4.2, to market AMRIX using Commercially Reasonable
Efforts is patently false.”) At this procedural posture, the Court is ill-equipped to weigh the
factual allegations of the Second Amended Complaint against Del Ricci’s denials and counter-
factual assertions.

                                                 29
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 30 of 44 PageID# 1035




the same the reductions.” (Id. 11.) The Court finds that Robins has remedied both of those

deficiencies in its Second Amended Complaint.

       Regarding Robins’s beefed up effort to allege facts to undergird its claim of liability, the

Second Amended Complaint includes detailed factual allegations concerning what

“commercially reasonable efforts or steps . . . Defendant[s] made or failed to make.” Robert

Wood Johnson Univ. Hosp., 2013 WL 4510005, at *4. Robins contends that Defendants stopped

using Commercially Reasonable Efforts in three ways, by cutting: (1) the Amrix sales force; (2)

the co-pay card program; and, (3) the discount coupon program. (Second Am. Compl. ¶ 103.)

Robins avers that each of these programs were necessary to “meet Commercially Reasonable

Efforts” yet Defendants made cuts in the sales force and essential programs “substantially and

unreasonably.” (Id.) For example, in its communications with Robins, Teva stated that it was

“no longer offering copay coupons [for Amrix], a marketing component recognized in the

industry as critical to successful sales efforts for brand name prescription drugs like Amrix, but

failed to explain why.” (Id. ¶ 87 (emphasis added).) Teva similarly cut its number of sales

representatives from 324 in 2012—“the number of sales representatives required to satisfy

Commercially Reasonable Efforts”—and “refused to state how many sales representatives were

marketing Amrix” in 2017. (Id. ¶¶ 78–79, 84.)

       Regarding Robins’s contentions that Teva failed to make Commercially Reasonable

Efforts in marketing and sales, the Court concludes that Robins alleges sufficient comparative

claims “that a company similar in size and scope would not have made the same the reductions.”

(Sept. 18, 2019 Mem. Op. 11.) Indeed, Robins explicitly states that “Teva’s slashing of its

marketing and sales efforts for Amrix are not justified . . . . and a company similar in size and

scope to Cephalon, Teva USA, or Teva Ltd. would not have made the same reductions in sales




                                                 30
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 31 of 44 PageID# 1036




force, marketing budget, and marketing efforts made by Teva.”22 (Second Am. Compl. ¶¶ 104–

05.)

       In further support of this contention, Robins also plausibly notes the reason for

Defendants’ failure to use Commercially Reasonable Efforts: Teva’s declining financial

condition. Specifically, between 2015 and 2019, Teva “had to pay $1.2 billion to settle an

antitrust claim,” undertook “$33.75 billion in debt” to finance an acquisition, and “paid the U.S.

government . . . $519 million for having violated the Foreign Corrupt Practices Act.” (Id. ¶¶ 68–

70.) As a result of these expenses and “other poor decisions” Teva’s stock fell dramatically. (Id.

¶ 71.) Robins alleges that Defendants’ “straitened financial position . . . caused Defendants to

sacrifice Amrix [by] shifting its marketing efforts to other products.” (Id. ¶ 75.) Taken together,

Robins states that Defendants failed to use Commercially Reasonable Efforts by making certain

budget reductions, they made such reductions because of their weakened financial condition, and

another company of similar size and scope would not have made the same reductions.

       Teva argues that “courts have repeatedly recognized that commercially reasonable efforts

provisions do not require a company to disregard its own financial condition” and cites three

cases in support of that proposition. (Mem. Supp. Teva Jt. Mots. Dismiss 24.) This Court has

also noted that “[c]ompanies often change their budgets and sales efforts for certain products to




       22
           Teva contends that, in order to meet this criterion, Robins would have to provide more
detail about “how other reasonable companies would have marketed a comparable drug, and why
the Amrix marketing plan fell below that level.” (Mem. Supp. Teva Jt. Mots. Dismiss 27.)
Similarly, in Reply, Teva states that Robins does not compare Teva’s actions to those “of a
similarly situated company competing in a similar marketplace with a similar product.” (Reply
Teva Jt. Mots. Dismiss 6, ECF No. 68.) This overstates the Court’s ruling and the law. At this
early stage, Robins need not necessarily plead in the affirmative exactly what a company should
do vis-à-vis a different company. That level of specificity comments to a heightened pleading
standard. Given the context and detail presented in the Second Amended Complaint, Robins has
satisfied its burden at the motion to dismiss stage.

                                                31
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 32 of 44 PageID# 1037




adapt to an everchanging market-place.” (Sept. 18, 2019 Mem. Op. 11.) Yet the Court cannot

weigh whether Teva’s reductions in marketing and sales for Amrix, despite the drug’s alleged

continued viability, were commercially reasonable without further factual development.

Notably, each of the cases cited by Teva considered a business’s financial condition at the

summary judgment stage—not the current procedural posture.23 And all three of those cases

denied summary judgment, determining that whether a party had used commercially reasonable

efforts in a contract was, as the Cott Beverages Court stated, a “factually intense issue.” 721 F.

Supp. 2d at 926. At this stage of the litigation, taking Robins’s factual allegations as true,

Robins has stated a claim that a company similar in size and scope to Teva, considering the

continued viability of Amrix, would not have cut the key marketing and sales programs

necessary to maintain Amrix’s profitability.24

       Robins’s additional factual allegations set its twenty-page Second Amended Complaint

apart from those cases relied upon by this Court in its September 18, 2019 Memorandum

Opinion. For instance, in Soroof Trading Development Company, the plaintiff asserted that a

defendant had failed to use “reasonable efforts to supply” fuel cells under the terms of a contract.



       23
          See, e.g., Bear Stearns Funding, Inc. v. Inerace Grp.-Nev., Inc., No. 03cv8259, 2007
WL 1988150, at *22 (S.D.N.Y. July 10, 2007) (finding on summary judgment that plaintiff’s
arguments about failure to use commercially reasonable efforts “intrude too greatly upon Bear
Stearns’ business discretion”); Citri-Lite Co. v. Cott Beverages, Inc., 721 F. Supp. 2d 912, 926
(E.D. Cal. June 14, 2010) (finding on summary judgment “that ‘commercially reasonable efforts’
permits the performing party to consider its economic business interests”); LeMond Cycling, Inc.
v. PTI Holding, Inc., No. 03cv5441, 2005 WL 102969, at *5 (D. Minn. Jan. 14, 2005) (finding
that “[n]o business would agree to perform to its detriment” but determining that standard of
commercial reasonableness was fact driven assessment precluding disposition at the summary
judgment stage.”)
       24
          While the Court may weigh Teva’s financial position at the summary judgment stage, a
defendant may not escape the requirements of a Commercially Reasonable Efforts provision by
merely stating that its own financial condition required it to cut its marketing and sales budget
for a product.

                                                 32
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 33 of 44 PageID# 1038




842 F. Supp. 2d at 512. The Soroof court dismissed that bare allegation, finding that the

“[Plaintiff] provides no facts—such as specific instances of delay, facts regarding what efforts

were lacking, or even allegations concerning [defendant’s] capabilities and its failure to live up

to them—to support these conclusory statements. Id. Here, unlike the plaintiff in Soroof, Robins

has made more than conclusory accusations against Defendants. Robins has cited specific facts

regarding “what efforts were lacking” in the marketing and sales of Amrix; specifically,

Defendants unreasonable cuts to its marketing personnel, its co-pay program, and discount-

coupon program. Id.

       Similarly, in Robert Wood Johnson, the plaintiff filed suit for failure to use commercially

reasonable efforts regarding the construction of a solar facility, but the complaint alleged only

that defendant failed to make “commercially-reasonable efforts to satisfy the Conditions

Precedent.” 2013 WL 4510005, at *4. The district court dismissed the complaint, determining

that it “does not allege what commercially reasonable efforts or steps, if any, Defendant made or

failed to make.” Id. By contrast to the bare allegation in Robert Wood Johnson, Robins has

identified a number of specific steps Defendants failed to make in the marketing and sale of

Amrix between 2015 and 2019.

       “Under New York law, a cause of action for breach of contract requires ‘(1) the existence

of an agreement, (2) adequate performance of the contract by the plaintiff, (3) breach of contract

by the defendant, and (4) damages.” Benihana of Tokyo, LLC, 259 F. Supp. 3d at 33.

Considering the Second Amended Complaint’s additional, comparative factual allegations

concerning Defendants’ efforts regarding Amrix, the Court concludes that Robins has pleaded




                                                 33
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 34 of 44 PageID# 1039




(or pled) sufficient facts to state a breach of contract claim against Defendants.25 The Court will

therefore deny Defendants’ Motions to Dismiss brought pursuant to Rule 12(b)(6). (ECF Nos.

58, 60, 70.)

                              IV. Analysis: Personal Jurisdiction

       For the reasons stated below, the Court concludes that it has personal jurisdiction over

Teva Ltd.26 It will therefore deny Teva Ltd.’s Motion to Dismiss pursuant to Rule 12(b)(2).

(ECF No. 57.)

       A.       Legal Standard: Personal Jurisdiction & Forum Selection Clauses

       In the United States Court of Appeals for the Fourth Circuit a valid forum-selection

clause may “act as a waiver to objections to personal jurisdiction.” Consulting Eng’rs Corp. v.

Geometric Ltd., 561 F.3d 273, 281 n.11 (4th Cir. 2009) (internal citations omitted); see also W.L.

Gore & Assocs. v. Medtronic, Inc., 778 F. Supp. 2d 667, 671 (E.D. Va. 2011) (“A valid forum

selection clause allows for personal jurisdiction in the chosen forum under the principles of

‘contractual consent or waiver’”) (internal citations omitted).

        “[W]hen parties to a contract confer jurisdiction and venue on a particular court, as a

general matter federal common law directs courts to favor enforcement of the agreement, so long

as it is not unreasonable.” Albemarle Corp. v. AstraZeneca UK Ltd., 628 F.3d 643, 649 (4th Cir.

2010). “This presumption of enforceability, however, only applies if the forum selection clause

is mandatory rather than permissive.” BAE Sys. Tech. Sol. & Servs., Inc. v. Republic of Korea’s



       25
            Defendants do not contest, at this stage, that Robins has performed under the Contract
or that it has sufficiently pled damages from breach. As stated above, although Teva Ltd. and
Teva USA argue that Robins has not stated sufficient facts to find “the existence of an
agreement” as to those entities, the Court finds their arguments unavailing. Benihana of Tokyo,
LLC, 259 F. Supp. 3d at 33.
         26
            The other three Defendants, Teva USA, Teva Int’l, and Cephalon, do not contest
personal jurisdiction in the Eastern District of Virginia.

                                                 34
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 35 of 44 PageID# 1040




Def. Acquisition Program Admin., 884 F.3d 463, 470 (4th Cir.), as amended (Mar. 27, 2018),

cert. denied sub nom. Republic of Korea’s Def. Acquisition Program Admin. v. BAE Sys. Sol. &

Servs., Inc., 139 S. Ct. 209 (2018)

       “A mandatory clause requires litigation to occur in a specified forum; a permissive clause

permits litigation to occur in a specified forum but does not bar litigation elsewhere.” Id. “[A]

forum selection clause is ‘mandatory,’ [if] it contains some language requiring that ‘the

designated courts are the only ones which have jurisdiction.’” Unistaff, Inc. v. Koosharem

Corp., 667 F. Supp. 2d 616, 619 (E.D. Va. 2009) (internal citations omitted). Courts have

determined that “[w]ords such as ‘shall,’ ‘only’ or ‘exclusive’ are often indicators that a clause is

mandatory rather than permissive.” Id.

       Where a forum selection clause does not confer personal jurisdiction, a Defendant’s

conduct may satisfy Virginia’s long arm statute and due process. “[F]ederal courts exercise

personal jurisdiction in the manner provided by state law . . . .” New Wellington Fin. Corp. v.

Flagship Resort Dev. Corp., 416 F.3d 290, 294 (4th Cir. 2005). Therefore, a district court must

first decide whether Virginia state law permits the court to exercise personal jurisdiction over the

defendant, and second, whether the exercise of such jurisdiction comports with the due process

requirements of the Fourteenth Amendment. Id.; Christian Sci. Bd. of Dirs. of the First Church

of Christ, Scientist v. Nolan, 259 F.3d 209, 215 (4th Cir. 2001); ESAB Group, Inc. v. Centricut,

Inc., 126 F.3d 617, 622 (4th Cir. 1997).

       “Because Virginia’s long-arm statute extends personal jurisdiction to the extent permitted

by the Due Process Clause, . . . ‘the statutory inquiry necessarily merges with the constitutional

inquiry, and the two inquiries essentially become one.’” Young v. New Haven Advocate, 315

F.3d 256, 261 (4th Cir. 2002) (quoting Stover v. O’Connell Assocs., Inc., 84 F.3d 132, 135–36




                                                 35
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 36 of 44 PageID# 1041




(4th Cir. 1996)) (internal citation omitted). Accordingly, the inquiry becomes whether the

defendants maintain sufficient minimum contacts with the forum state so as not to offend

“traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S.

310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)).

        “The standard for determining the existence of personal jurisdiction over a nonresident

defendant varies, depending on whether the defendant’s contacts with the forum state also

provide the basis for the suit.” Carefirst, 334 F.3d at 397. “If the defendant’s contacts with the

State are also the basis for the suit, those contacts may establish specific jurisdiction. . . . [I]f the

defendant’s contacts with the State are not also the basis for suit, then jurisdiction over the

defendant must arise from the defendant’s general, more persistent, but unrelated contacts with

the State.”27 ALS Scan, 293 F.3d at 712 (citing Helicopteros Nacionales de Columbia, S.A. v.

Hall, 466 U .S. 408, 414 & nn.8–9 (1984)).

        The Fourth Circuit has adopted a three-part test to determine whether specific jurisdiction

exists. Unspam Techs., Inc. v. Chernuk, 716 F.3d 322, 328 (4th Cir. 2013) (citing ALS Scan, 293

F.3d at 712). The Court must consider: “(1) the extent to which the defendant purposely availed

itself of the privilege of conducting activities in the State; (2) whether the plaintiffs’ claims arise

out of those activities directed at the State; and[,] (3) whether the exercise of personal

jurisdiction would be constitutionally reasonable.” Id. (quoting ALS Scan, 293 F.3d at 712). “If,




        27
           General jurisdiction exists only when a defendant’s “affiliations with the [s]tate are so
‘continuous and systematic’ as to render [it] essentially at home in the forum [s]tate.’” Daimler
AG v. Bauman, 571 U.S. 117, 139 (2014) (quoting Goodyear Dunlop Tires Operations, S.A. v.
Brown, 564 U.S. 915, 919 (2011)) (emphasis added). Nothing in the record indicates, and
Plaintiff does not contend, that Teva Ltd. engaged in “continuous and systematic” activities
within Virginia. ALS Scan, 293 F.3d at 712. Consequently, the Court’s inquiry focuses on
whether Teva Ltd.’s conduct allows the Court to exercise specific personal jurisdiction over Teva
Ltd.

                                                   36
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 37 of 44 PageID# 1042




and only if . . . the plaintiff has satisfied this first prong . . . need [the Court] move on to a

consideration of prongs two and three.” Consulting Eng’rs, 561 F.3d at 278.

        Because the Court has not held an evidentiary hearing on the jurisdictional issue, Robins

need only make a prima facie case of personal jurisdiction. Carefirst, 334 F.3d at 396. At this

procedural posture, the Court must also make all inferences in favor of jurisdiction. See Brooks

v. Motsenbocker Adv. Devs., Inc., 242 F. App’x 889, 890 (4th Cir. 2007).

        B.        The Court May Exercise Personal Jurisdiction Over Teva Ltd. Because
                  Robins Has Made a Prima Facie Case That the Contract’s Forum Selection
                  Clause Binds Teva Ltd.____________________________________________

        The Court will deny Teva Ltd.’s Motion to Dismiss for lack of personal jurisdiction for

the reasons discussed below. First, the Court finds that the forum selection clause in § 13.11 of

the Contract is a valid forum selection clause which waives personal jurisdiction. Second, the

Court concludes that Robins has stated a prima facie case that the Contract’s forum selection

clause binds Teva Ltd. Third, Teva Ltd. has not shown that applying the forum selection clause

would be unreasonable or unjust in the circumstances before this Court. Fourth, an additional

reason for denying Teva Ltd.’s Motion to Dismiss pursuant to 12(b)(2) exists; namely, that the

facts integral to the issue of personal jurisdiction are intertwined with those central to the merits

of the dispute.

                  1.    A Valid Forum Selection Clause, Such as the Mandatory One Found
                        in Contract § 13.11, May Act as a Waiver to Personal Jurisdiction___

        “[W]hen parties to a contract confer jurisdiction and venue on a particular court, as a

general matter federal common law directs courts to favor enforcement of the agreement, so long

as it is not unreasonable.” Albemarle, 628 F.3d at 649. In the Fourth Circuit, a valid forum-

selection clause may “act as a waiver to objections to personal jurisdiction.” Consulting Eng’rs,

561 F.3d at 282 n.11 (internal citations omitted); see also W.L. Gore, 778 F. Supp. 2d at 671 (“A



                                                   37
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 38 of 44 PageID# 1043




valid forum selection clause allows for personal jurisdiction in the chosen forum under the

principles of ‘contractual consent or waiver’”) (internal citations omitted). Furthermore, “where

one corporation has succeeded to another’s liabilities, the predecessor corporation’s forum

contacts can be imputed to the successor corporation.” Hawkins, 935 F.3d at 227 (internal

citations omitted).

       Section § 13.11 of the Contract contains a forum selection clause. The language of the

forum selection clause is mandatory. The forum selection clause states, in relevant part, that:

       Each party hereby irrevocably submits to the jurisdiction of, and agrees that any
       action arising out of this Agreement shall be brought in, (i) the United States
       District Court for the Southern District of New York or, if such federal jurisdiction
       is unavailable, the state courts in the Borough of Manhattan, City of New York, (ii)
       the United States District Court for the Eastern District of Pennsylvania or, if such
       federal jurisdiction is unavailable, the state courts in the County of Chester,
       Pennsylvania, or (iii) the United States District Court for the Eastern District of
       Virginia or, if such federal jurisdiction is unavailable, the state courts in the City of
       Richmond, Virginia, and each party hereby irrevocably waives any objection which
       such party may now or hereafter have to the laying of improper venue or forum non
       conveniens in any such jurisdiction.

(Contract § 13.11 (emphases added).) This mandatory language provides that the parties

“agree[] that any action arising out of this Agreement shall be brought in” one of the three

specified federal jurisdictions, or their state court counterparts. (Id. (emphasis added).) See

Unistaff, 667 F. Supp. 2d at 619 (“Words such as ‘shall,’ ‘only’ or ‘exclusive’ are often

indicators that a clause is mandatory rather than permissive.”) Because the forum selection

clause is mandatory, the forum selection clause is presumed to be enforceable, BAE Sys. Tech.

Sol. & Servs., Inc., 884 F.3d at 470, “so long as it is not unreasonable.” Albemarle Corp, 628

F.3d at 649.

       Teva Ltd. does not argue that the forum selection clause is unreasonable or fraudulent.

See W.L. Gore & Assocs., 778 F. Supp. 2d at 671 (“[F]orum selection clauses are valid and




                                                  38
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 39 of 44 PageID# 1044




accepted unless they are clearly unreasonable or fraudulent.” (internal citation omitted)) And, as

discussed further below, application of the forum selection clause to Teva Ltd. would not be

unreasonable or unjust. Rather, Teva Ltd. argues that it is not bound by the Contract’s forum

selection clause because “Anesta’s independent decision to submit to jurisdiction in the

Commonwealth does not confer personal jurisdiction over Teva Ltd., which is a separate legal

entity that had nothing to do with Anesta at the time of the [Contract].” (Mem. Supp. Teva Jt.

Mots. Dismiss 19.) For the reasons below, however, Robins has set forth a prima facie case that

Teva Ltd. is bound by the forum selection clause in Contract § 13.11.

               2.      Robins Has Made a Prima Facie Showing of Personal Jurisdiction By
                       Alleging that Teva Ltd. Was Assigned Rights Under the Contract and
                       By Stating a Claim That Teva Ltd. Is Bound By the Contract_______

       At this procedural posture, Robins need only make a prima facie showing of personal

jurisdiction over Teva Ltd. Drawing all inferences in favor of jurisdiction, Brooks, 242 F. App’x

at 890, Robins has made that prima facie showing by alleging that Teva Ltd. assigned itself

rights under the Contract and by stating a claim that Teva Ltd. entered into an express or implied

agreement to undertake Cephalon and Anesta’s debts and obligations.

       A plaintiff can establish a prima facie showing of personal jurisdiction by alleging that

the defendant is the successor-in-interest to or assignee of an agreement that contains a valid

consent to jurisdiction. Vianix Delaware v. Nuance Comms., 637 F. Supp. 2d 356, 362 (E.D. Va.

2009) (“Accepting as true the allegation that [the defendant] is the successor of [the contract

signer], it appears that [the defendant] would be bound by the forum selection clause in the

License, since the License is binding on each party’s successors”); Hawkins, 935 F.3d at 227

(“[W]here one corporation has succeeded to another’s liabilities, the predecessor corporation’s

forum contacts can be imputed to the successor corporation.”)




                                                39
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 40 of 44 PageID# 1045




       The Contract states that “[t]his Agreement is binding upon . . . the parties hereto and their

respective successors and permitted assigns.” (Contract § 13.07.) In the Second Amended

Complaint, Robins alleges that Teva Ltd. is one such “successor[] and permitted assigns” and is

therefore “bound by the Agreement.” (Second Am. Compl. ¶¶ 53–54.) Accepting Robins’s

factual allegations as true, as the Court must at this procedural posture, Robins has established a

prima facie case that the forum selection clause binds Teva Ltd., rendering it subject to personal

jurisdiction in the Eastern District of Virginia.

       Teva Ltd. argues that Vianix “is irrelevant” because the “law in New York is different:

An acquiring company does not assume the seller’s obligations.” (Reply Teva Jt. Mots. Dismiss

7 n.2.) But that argument fails for two reasons. First, Robins alleges that Teva Ltd. has assumed

Cephalon and Anesta’s obligations. The Court cannot discredit that factual allegation in

assessing personal jurisdiction.

       Second, as stated above, the Second Amended Complaint includes sufficient factual

allegations concerning Teva Ltd.’s conduct regarding Amrix, including Teva Ltd.’s acquisition

of Cephalon, Teva’s marketing and sales efforts regarding the drug, and Teva’s corporate

structure, to state a claim that Teva Ltd. undertook Cephalon and Anesta’s debts and obligations

under the Contract. (See supra § III(B).) Put simply, if Teva Ltd. entered into “an express or

implied agreement to assume” [Cephalon’s] “debts and obligations” under the Contract, Eclaire

Advisor Ltd., 375 F. Supp. 2d at 267, then it is also bound by the Contract’s forum selection

clause.28



       28
           Teva Ltd.’s argument also ignores the language of the Contract. The Contract states
that “[t]his Agreement is binding upon . . . the parties hereto and their respective successors and
permitted assigns.” (Contract § 13.07.) While it is true that in New York an acquiring company
does not automatically assume the seller’s obligations, that is exactly the factual scenario that
Robins alleges here and that the plain language of the Contract contemplates. Robins alleges that

                                                    40
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 41 of 44 PageID# 1046




       At this stage of the litigation, Robins has stated a prima facie case of personal jurisdiction

over Teva Ltd. Because Robins has succeeded in stating a claim that Teva Ltd. inherited Anesta

and/or Cephalon’s liabilities, the forum selection clause may be applied to Teva Ltd. Hawkins,

935 F.3d at 227 (“where one corporation has succeeded to another’s liabilities, the predecessor

corporation’s forum contacts can be imputed to the successor corporation.”) Because the Court

finds below that enforcement of the forum selection clause is neither unreasonable nor unjust, the

Court will exercise personal jurisdiction over Teva Ltd.

               3.     Teva Ltd. Has Not Shown That Enforcement of the Forum Selection
                      Clause Would Be Unreasonable or Unjust_______________________

       The Court does not find application of the forum selection clause to Teva Ltd. would be

unreasonable or unjust.

       While a forum selection clause may “act as a waiver to objections to personal

jurisdiction,” Consulting Eng’rs, 561 F.3d at 282 n.11, it may not bind a non-resident defendant



Teva Ltd. has been assigned rights under the Contract and is now a “successor[] and permitted
assign.” (Second Am. Compl. ¶¶ 53–54.) As stated above, the Court cannot, at this procedural
posture, discredit that factual allegation. Under the plain language of the Contract, the forum
selection clause in § 13.11 binds Teva Ltd. as a permitted successor or assign.
        The language of the Contract separates the case at bar from those Teva Ltd. cites in its
Reply in Support of its Joint Motions to Dismiss. (Reply Mem. Supp. Teva Jt. Mots.
Dismiss 12.) For instance, Teva Ltd. relies heavily on In re Refco Inc. Securities Litigation, in
which the Southern District of New York stated that “even if an agreement purports to bind
successors and assigns of the parties to the agreement, ‘an assignee or successor will not be
bound to the terms of a contract absent an affirmative assumption of the duties under the
contract.’” 826 F. Supp. 2d at 494. But in that case, the operative contract contained a strict
limitation on assignment, stating that “[n]o party shall assign the rights or delegate the duties
pursuant to this Agreement without the prior written consent of the other parties.” Id.
Considering the contract language, the Refco Court found that “[t]here is nothing in the
Amended Complaint alleging that written consent was obtained to assign [the defendant] the
rights and duties pursuant to the Service Agreement.” Id.
        In contrast, written consent was necessary to assign the rights and obligations under the
Contract before the Court. (See generally Contract.) The allegations in the Second Amended
Complaint also suggest that Teva Ltd. affirmatively assumed the duties under the Contract
through its conduct.

                                                41
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 42 of 44 PageID# 1047




if the non-resident defendant clearly shows “that enforcement would be ‘unreasonable and

unjust, or that the clause was invalid for such reasons as fraud or overreaching.’” Marathon Res.

Mgmt. Grp., LLC v. C. Cornell, Inc., No. 3:19cv89, 2019 WL 5549195, at *4 (E.D. Va. Oct. 25,

2019) (quoting The M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 15 (1972)). Enforcement

is deemed “unreasonable and unjust” when (1) agreement to the forum-selection clause was

induced by “fraud or overreaching,” (2) enforcement “would contravene a strong public policy of

the forum in which suit is brought,” or (3) trial in the contractual forum will be “so gravely

difficult and inconvenient” that the complaining party will “for all practical purposes be deprived

of his day in court.” Id. at *15–19.

       Teva Ltd. does not claim that enforcement of the forum selection clause would be

unreasonable or unjust on any of the above M/S Bremen factors, and the Court sees no basis on

the record for concluding that it would be. No evidence suggests that the forum selection clause

was induced by fraud, or that enforcement would contravene a strong public policy of the

Commonwealth of Virginia. Id. Furthermore, while Teva Ltd. is an Israeli company, it is “the

world’s largest seller of generic drugs” and maintains a wholly owned subsidiary in the United

States. (See Second Am. Compl. ¶¶ 10, 11, 43, 68–70.) It will therefore likely not be “so

gravely difficult and inconvenient” for Teva Ltd. to litigate here such that it will “for all practical

purposes be deprived of [its] day in court.” M/S Bremen, 407 U.S. at 18.

       Because Teva Ltd. has not met its burden of showing that application of the forum

selection clause would be unreasonable or unjust, the Court will apply the forum selection clause

to Teva Ltd. and exercise personal jurisdiction over it.




                                                  42
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 43 of 44 PageID# 1048




               4.      Because the Facts Integral to the Issue of Personal Jurisdiction Are
                       Intertwined With Those Central to the Merits of the Dispute, the
                       Court Should Resolve the Issue By a Proceeding on the Merits____

       Although Robins’s allegations are sufficient for a finding of personal jurisdiction at this

procedural posture, the Court notes another related reason for denying Teva Ltd.’s Motion to

Dismiss pursuant to Rule 12(b)(2). In matters involving a challenge to personal jurisdiction, the

Fourth Circuit has cautioned that “‘where the jurisdictional facts are intertwined with the facts

central to the merits of the dispute’ deferring resolution of that factual dispute to a proceeding on

the merits ‘is the better view.’” Grayson v. Anderson, 816 F.3d 262, 268 (4th Cir. 2016)

(quoting Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982)); see also Verizon Online Servs. v.

Ralsky, 203 F. Supp. 2d 601, 609 n.6 (E.D. Va. 2002) (“when jurisdictional facts are inextricably

intertwined with underlying claims, the proper course is to resolve the issue by proceeding on the

merits”); Raymond, Colesar Glaspy & Huss, P.C. v. Allied Capital Corp., 761 F. Supp. 423, 429

(E.D. Va. 1991) (accord).

       In the case at bar, this Court’s determination of whether it can permissibly exercise

personal jurisdiction over Teva Ltd. turns on whether Teva Ltd. is bound by the Contract, a

matter “which is also the heart of the lawsuit itself.” Ralsky, 203 F. Supp. 2d at 609 n.6.

Because the facts the Court must consider in assessing personal jurisdiction are “inextricably

intertwined with underlying claims” for breach of contract, and Robins has succeeded in stating a

prima facie case of personal jurisdiction, “the proper course is to resolve the issue by proceeding

on the merits.” Id.

       The Court acknowledges that Teva Ltd. has filed a declaration from the Secretary of Teva

USA asserting that “Teva Ltd. has never been assigned the rights to Amrix or any of the rights

and obligations under the Agreement.” (Mem. Supp. Teva Jt. Mots. Dismiss Ex. 5 “Decl. Brian




                                                 43
Case 3:18-cv-00827-MHL Document 75 Filed 09/25/20 Page 44 of 44 PageID# 1049
